Case 2:05-Cv-02160-.]PI\/|-tmp Document 4 Filed 05/31/05 Page 1 of 2 Page|D 1

 
  

 

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UNITED sTATEsDISTRICT COURT USMAY$? P?“-! 12: 23
WESTERNDISTRICT OF TENNESSEE FOBW_T ,\
WESTERN DIVISIoN fm ~
DELL BLEDSOE, et al. JUDGMENT IN A CIVIL CASE
VS
ELI LILLY AND COMPANY. CASE NO: 05-2160 Ml/P

 

Upon dismissal by the plaintiffs:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the thice
cf Dismissal pursuant to Federal Rule cf Civil Prccedure 4l(a)filed
May 26, 2005, this case is DISMISSED Without prejudice.

APPROVED:

339 umw

JON HIPPS MCCALLA
UNI D STATES DIS'I'RICT COURT

m/Q 11 3) Z\OOF‘ P\OBERT R. Dl TRGLEO

Date / Clerk cf Court

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May 31, 2005 to the parties listed.

 

Patrick M. Ardis
WOLFF ARDIS

5810 Shelby Oaks Dr.
Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

